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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                        WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                         NO. 4:14CR00143-3 JLH

STEPHEN HARRIS

                                     ORDER

      Pending before the Court is a motion for issuance of a summons and

revocation of pretrial release (docket entry #106). For good cause shown, the

motion for issuance of a summons in GRANTED. The Clerk is directed to issue a

summons to Defendant Stephen Harris for appearance at a hearing before United

States Magistrate Judge J. Thomas Ray on December 17, 2015, at 2:00 p.m. to

show cause why his pretrial release should not be revoked.

      IT IS SO ORDERED this 16th day of December, 2015.




                                      UNITED STATES MAGISTRATE JUDGE
